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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division

JOHN COREY FRASER, on behalf of himself and all )
others similarly situated as a Class;           )
                                                )
                  Plaintiff,                    )
      v.                                        ) Civil Action No. 3:22-cv-00410
                                                )
BUREAU OF ALCOHOL, TOBACCO, FIREARMS            )
AND EXPLOSIVES; et al.                          )
                                                )
                  Defendants.                   )
________________________________________________)

                           CERTIFICATE REPORTING SERVICE

       COMES NOW the United States Attorney by Jonathan H. Hambrick, Assistant United

States Attorney for the Eastern District of Virginia, and, pursuant to the provisions of Local Civil

Rule 4(a), certifies the following:

       The Office of the United States Attorney was served with process in this litigation by

certified mail pursuant to the provisions of Rule 4(i)(1)(A) of the Federal Rules of Civil

Procedure. The envelope containing process was postmarked with the date of August 26, 2022.

Process was received by the Office of the United States Attorney on August 29, 2022.

                                                     Respectfully submitted,

                                                     JESSICA D. ABER
                                                     UNITED STATES ATTORNEY

                                              By:    /s/
                                                     Jonathan H. Hambrick
                                                     VSB No. 37590
                                                     Attorney for the Defendants
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 6th day of September, 2022, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will send a notification of

such filing (NEF) to the following:

                              Elliott Harding, Esquire
                              Harding Counsel, PLLC
                              608 Elizabeth Avenue
                              Charlottesville, VA 22901




                                                      /s/
                                                      Jonathan H. Hambrick
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